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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: LS 13362.317
BranchCase  8:21-bk-11710-ES
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Document: LS 13362.317
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
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Document: LS 13424.499
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: LS 13424.504
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
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Document: LS 13424.504
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: LS 13424.504
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: LS 13424.504
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: LS 13362.320
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: LS 13362.320
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: LS 13362.320
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
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Document: LS 13362.320
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: CA 13383.1868
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: CA 13383.1868
BranchCase  8:21-bk-11710-ES
      :A14,User :2004         Doc 148-1 Comment:
                                          Filed 07/22/22 Entered 07/22/22 16:42:54Station
                                                                                       Desc
                                                                                          Id :M3Y7
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Document: CA 13383.1868
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 183 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 184 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 185 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 186 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 187 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 188 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 190 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 191 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 192 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 194 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 195 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 196 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 197 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 198 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 199 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 200 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 201 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 202 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 203 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 204 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 205 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 206 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 207 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 208 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 209 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 210 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 211 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 212 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 213 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 214 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 215 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 216 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 217 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 218 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 219 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 220 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 221 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 222 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 223 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 224 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 225 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 226 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 227 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 228 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 229 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 230 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 231 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 232 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 233 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 234 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 235 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 236 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 237 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 238 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 239 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 240 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 241 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 242 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 243 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 244 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 245 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 246 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 247 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 248 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 249 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 250 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 251 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 252 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 253 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 254 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
                    Part 2 - Amended Motion Page 255 of 258
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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                                       Hon, Erithe A, Smith
                                       United States Bankruptcy Court
                                       411 West Fourth Street
                                       Santa Ana, CA 92701
Case 8:21-bk-11710-ES Doc 148-1 Filed 07/22/22 Entered 07/22/22 16:42:54   Desc
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